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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-MJ-6204-PAB


 UNITED STATES OF AMERICA,

 v.

 SUTANGA REX CYPRESS,

       Defendant.
 _________________________________/

                                   CRIMINAL COVER SHEET

      1. Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? NO

      2. Did this matter originate from a matter pending in the Central Region of the United States
         Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? NO

      3. Did this matter involve the participation of or consultation with now Magistrate Judge
         Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
         January 22, 2023? NO

      4. Did this matter involve the participation of or consultation with now Magistrate Judge
         Marta Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which
         concluded on March 5, 2024? NO


                                                      Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY

                                                      /s/Latoya C. Brown
                                                      Latoya C. Brown
                                                      Assistant United States Attorney
                                                      Florida Bar No. 105768
                                                      United States Attorney’s Office
                                                      500 E. Broward Blvd., Suite 700
                                                      Fort Lauderdale, FL 33394
                                                      Phone: (954) 660-5957
                                                      Email: Latoya.Brown2@usdoj.gov
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A O 9 1 {Rev. 08/09) Criminal Complaint


                                          UNITED STATES DISTRICT COURT                                     FILED sv_ _s_M_ o.c .
                                                                  for the
                                                      Southern District of Florida                                      Apr 29, 2024
                                                                                                                        .A.NGElA E . NOBLE
                                                                                                                       CLERK U.S. DIST. CT.
                    United States of America                                                                           S. D. OF FLA. • TTL
                                 V.
                                                                             Case No. 24-MJ-6204-PAB
                   SLJTANGA REX CYPRESS,



                            Defend1111t(s)


                                                      CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my know ledge and b e l ~ ,4M
On or about the date(s) of                     Aoril 26 2024                in the county of             ~ ~- \                   in the
     Southern            District of            Florida          . the defendant(s) violated:

               0                                                               Of(e,ise Description
18 U.S.C. §~       ff3(~J{~~~1
                        1153                     Assault with intent to commit murder
18 U.S.C. §§ 113(a)(3), 1153                     Assault with a dangerous weapon, with intent to do bod ily harm
18 U.S.C. §§ 113(a)(6), 1153                     Assault resulting in serious bodily injury




          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT.                                                                I:




         QI Continued on the at1ached sheet.




                                                                                                Primed name and title

Attested to by the applicant in accordance with the
requirements of Fed. R. Civ. P. 4.1 via FaceTime.

Date:               04/28/2024
                                                                                                 .fudge ·s signature


City and state:                       Fort Lauderdale Florida                   U.S. Ma                                    ustin-Birch
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                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

        I, Andreana Morency, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent for the Federal Bureau of Investigation (“FBI”) and have been

 so employed since October 2023. I am currently assigned to the Violent Crimes/Fugitive Task

 Force in the Miami Division and have been so assigned since April 2024. I received training at

 the FBI Academy in Quantico, Virginia. As a Special Agent for the FBI, my current duties involve

 investigating bank robberies, Hobbs Act robberies, extortion, and other violations of federal law.

 Prior to my employment as a Special Agent with the FBI, I worked as an FBI Evidence Technician

 from September 2022 to October 2023, where I managed and processed evidence.

        2.      The information provided in this Affidavit is for the purpose of establishing

 probable cause in support of a criminal complaint charging SUTANGA REX CYPRESS

 (“CYPRESS”) with offenses committed within Indian Country in violation of Title 18, United

 States Code, Section 1153(a), including: assault with intent to commit murder in violation of Title

 18, United States Code, Section 113(a)(1); assault with a dangerous weapon with intent to do

 bodily harm in violation of Title 18, United States Code, Section 113(a)(3); and assault resulting

 in serious bodily injury in violation of Title 18, United States Code, Section 113(a)(6).

        3.      The statements contained in this Affidavit are based on my personal knowledge, as

 well as information provided by other individuals, including other law enforcement officials, and

 my review of records obtained during this investigation. I have not included in this Affidavit every

 fact and circumstance known to me, but only the facts and circumstances sufficient to establish

 probable cause for the issuance of an arrest warrant as requested herein.
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                                         PROBABLE CAUSE

         4.      On April 26, 2024, law enforcement was dispatched to HC 61 Box W-3700 in the

 Miccosukee Indian Reservation—a territorial jurisdiction of the United States—regarding a

 shooting. Upon arrival, officers observed a male victim, Victim 1, on the floor with an apparent

 gunshot wound. Victim 1 stated “I’ve been shot.” Victim 1 was shot in the abdomen. Miccosukee

 Police Department officers rendered aid before contacting the Miccosukee clinical staff for medical

 assistance. Given the severity of the injury, Victim 1, who was in critical condition, was then airlifted

 to the hospital, where he remains in the intensive care unit. CYPRESS was also on scene and detained

 by responding officers.

         5.      A witness neighbor (“Witness 1”) and his mother (“Witness 2”) reported to law

 enforcement that they had overheard an argument next door and what sounded like a “pop.”

 Witness 1 and Witness 2 saw CYPRESS brandishing a firearm and arguing with Victim 1. Witness

 2 then called 911 while Witness 1 began recording the argument on his cellular device. Witness

 2 stopped recording when he saw CYPRESS point the weapon toward Victim 1 and fire the

 weapon. Witness 2 relayed to Witness 1 that “he shot him,” which Witness 1 relayed to the police.

 Witness 2 then heard what sounded like a third gunshot. The phone call to the police was audio

 recorded.

         6.      Upon review of the cellphone footage, law enforcement observed CYPRESS

 brandishing a weapon and waiving it aggressively toward Victim 1. The video stops recording

 right as CYPRESS points the firearm toward Victim 1.



                              [THIS SPACE INTENTIONALLY LEFT BLANK]




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